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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

KENNETH NASSET                                 *                 CASE NO. 18-9253

       vs.                                     *                 SECT. A(1)

UNITED STATES OF AMERICA                       *                 JUDGE ZAINEY

                                               *                 MAG. VAN MEERVELD


                                    NOTICE OF SUBMISSION

       The foregoing Motion for Summary Judgment, by Defendant the United States of America is

hereby noticed for submission on October 14, 2020 at 9:00 a.m.

       New Orleans, Louisiana, this ______ day of _________________, 2020.




                                           _____________________________________________
                                              The Honorable Jay C. Zainey
